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   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735                                               CLERK U.S. BANKRUPTCY COURT
                                                                           Central District of California
                                                                           BY gonzalez DEPUTY CLERK
 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, as Debtor and Debtor in Possession
 7
                                                                     CHANGES MADE BY COURT
 8                                UNITED STATES BANKRUPTCY COURT

 9                                 CENTRAL DISTRICT OF CALIFORNIA

10                                         LOS ANGELES DIVISION

11

12 In re                                                      Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                                  Chapter 11

14                     Debtor and Debtor-in-                  ORDER CONTINUING LITIGATION
                       Possession.                            DEADLINES PERTAINING TO
15                                                            EVIDENTIARY HEARING ON CLAIM
                                                              NO. 18 FILED BY BETULA LENTA, INC.
16

17            The Court, having read and considered the Stipulation to Continue Litigation Deadlines
18 filed by Jinzheng Group (USA) LLC, (“Stipulation”) (docket no. 357) and with good cause shown,

19            IT IS ORDERED:
20            1.       The Stipulation is approved, subject to the modifications set forth herein.
21            2.       The dates set forth in the Scheduling Order are hereby continued as follows:
22                     a.     The last day to disclose expert witnesses and expert witness reports is
23 extended from September 26, 2022, to November 25, 2022.

24                     b.     The last day to disclose rebuttal expert witnesses and rebuttal expert witness
25 reports is extended from October 24, 2022, to December 23, 2022.

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 1                     c.     The last date to complete discovery, including discovery pertaining to expert

 2 witnesses, is extended from November 21, 2022, to January 19, 2023. All discovery motions must

 3 also have been heard by this date.

 4                     d.     The last day for dispositive motions to be heard is extended from

 5 November 21, 2022, to January 19, 2023.

 6                     e.     The pretrial conference is continued from January 10, 2023 at 11:00 a.m. to

 7 March 14, 2023 at 11:00 a.m. March 11, 2023 at 11:00 a.m.

 8                     f.     The evidentiary hearing is continued from the week of January 23, 2023 to

 9 the week of March 27, 2023. March 24, 2023.

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      Date: August 24, 2022
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